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     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     P.O. Box 188945
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Email: rusklaw@comcast.net
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 5                        IN THE UNITED STATES DISTRICT COURT

 6                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 7
                                          ) Case No.: CR. S-12-115 TLN
 8   UNITED STATES OF AMERICA,            )
                                          ) MEMORANDUM TO CONTINUE JUDGMENT &
 9               Plaintiff,               ) SENTENCING
                                          )
10        vs.                             ) Court: Hon. Troy L. Nunley
                                          ) Time:   9:30 a.m.
11                                        ) Date:   June 11, 2015
     GERARDO CARDENAS,                    )
12                                        )
                 Defendant
13

14

15
          Defendant Gerardo Cardenas is scheduled for judgment & sentencing
16
     on April 30, 2015 at 9:30 a.m. Mr. Cardenas criminal history score
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     impacts his sentencing guidelines in the instant case.     Mr. Cardenas
18
     requires additional time to submit documents to the probation office
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     for their review.     Therefore, the defense requests that the matter be
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     calendared for sentencing on June 11, 2015, at 9:30 a.m.     The
21
     government does not oppose this request. The pre-sentence schedule
22
     would be:
23
                 J & S:                                  June 11, 2015
24
                 Sentencing Memorandum:                  June 4, 2015
25
                 Motion for Correction of PSR:           May 28, 2015
26
                 Final pre-sentence report:              May 21, 2015
27
                 Objections to pre-sentence report:      May 14, 2015
28




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 1             Proposed pre-sentence report:                  April 30, 2015

 2

 3
     Dated: April 19, 2015             Respectfully submitted,
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 5

 6
                                      __/s/ Shari Rusk___
                                      Shari Rusk
 7                                    Attorney for Defendant
                                      Gerardo Cardenas
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 9

10                                ORDER

11        IT IS SO ORDERED.

12   Dated: April 20, 2015

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                                            Troy L. Nunley
15                                          United States District Judge
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